 

Flll ln this information to identify your case:

Debtor 1

Debtor 2

(Spuuse. il filing)

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Case Number

(ii known)

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€/[[ pit 1

l
Last Name

 
 
   

india Name

[] Check if this is an amended plan.

 

First Narr\e Midd|e Name Las! Nama

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CHAPTER 13 PLAN ANI) MoTloN

 

[Pursuant to Fed. R. Bankr. P. 3015.1, the Southem District ol`Georgia General Order 2017-3 adopts this form in lieu of the Ol`t'lcial Form l l3].

Notices. Debtor(s) must check one box on each line to state whether or not the plan includes each of the following
items. If an item is checked as not being contained in the plan or if neither or both boxes are checked, the provision
will be ineffective if set out in the plan.

(a)

(b)

(C)

This plan: |:l contains nonstandard provisions. See paragraph 15 below.
|:l does not contain nonstandard provisions

This plan: Cl values the claim(s) that secures collateral. See paragraph 4(f) below.
l:l does not value claim(s) that secures collateral.

This plan: Ei seeks to avoid a lien or security interest. See paragraph 8 below.

|:l does not seek to avoid a lien or security interest.

Plan l’ayments.

(a)

(b)

(C)

The Debtor(s) shall pay to the Chapter 13 Trustee (the “'I`rustee”) the sum of$ for the applicable
commitment period of:
m 60 months or (If applicable include the following: These plan

payments will change to $ monthly on

|:l a minimum of 36 months. See ll U.S.C. § l325(b)(4). , 20_-)

 

The payments under paragraph 2(a) shall be paid:

|:i Pursuant to a Notice to Commence Wage Withholding, the Debtor(s) request(s) that the Trustee serve such Notice(s)
upon the Debtor’s(s’) employer(s) as soon as practicable after the filing of this plan. Such Notice(s) shall direct the
Debtor’s(s‘) employer(s) to withhold and remit to the Trustee a dollar amount that corresponds to the following
percentages ofthc monthly plan payment:

El Debtor l % l:l Debtor 2 %

l:i Direct to the Trustee for the following reason(s):
\:i The Debtor(s) receive(s) income solely from self-employment, Social Security, government assistancc,
or retirement.
l:| The Debtor(s) assert(s) that wage withholding is not feasible for the following reason(s):

 

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Additional Payments of $ (estimated amount) will be made on (anticipated date)
from (source, including income tax refunds).

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3. Long-Term Debt Payments.

(a) Maintenance of Current lnstallment Payments. The Debtor(s) will make monthly payments in the manner specified as
follows on the following long-term debts pursuant to ll U.S.C. § l322(b)(5). These postpetition payments will be
disbursed by either the Trustee or directly by the Debtor(s), as specified below. Postpetition payments are to be applied to
postpetition amounts owed for principal, interest, authorized postpetition late charges and escrow, if applicable. Conduit
payments that are to be made by the Trustee which become due alter the filing of the petition but before the month of the
first payment designated here will be added to the prepetition arrearage claim.

PAYMENTS TO BE MONTH OF FlRST

PRINCIPAL MADE BY POSTPE'I`lTION lNITlAL
RESlDENCE (TRUSTEE OR PAYMENT TO MONTHLY
CRED[TOR LLATERAL iY/N 1 DEBTOR! S )1 CREDITOR PAYMENT

(b) Cure of Arrearage on Long-Term Debt. Pursuant to ll U.S.C. § l322(b)(5), prepetition arrearage claims will be paid
in full through disbursements by the Trustee, with interest (if any) at the rate stated below. Prepetition arrearage
payments are to be applied to prepetition amounts owed as evidenced by the allowed claim.

DESCRIPT!ON OF PRINC|PAL ESTIMATED AMOUNT INTEREST RATE ON
CREDITOR COLLATERAL RESIDENCE [Y/N) OF ARREARAGE ARREARAQE tif` agg|icablcl
4. Treatment of Claims. From the payments received, the Trustee shall make disbursements as follows unless designated

otherwise:

(a) Trustee’s Fees. The Trustee percentage fee as set by the United States Trustee.
(b) Attorney’s Fees. Attorney’s fees allowed pursuant to 11 U.S.C. § 507(a)(2) of $

(c) Priority Claims. Other ll U.S.C. § 507 claims, unless provided for otherwise in the plan will be paid in full over the life
of the plan as funds become available in the order specified by law.

(d) Fully Seeured Allowed Claims. All allowed claims that are fully secured shall be paid through the plan as set forth below.

CREDlTOR DESCRIPT|ON OF CQLLATERAL ESTIMATED CLAlM IN'I'EREST RATE MONTHLY PAYMENT

(e) Secured Claims Excluded from ll U.S.C. § 506 (those claims subject to the hanging paragraph of ll U.S.C. §
1325(3)). The claims listed below were either: (l) incurred within 910 days before the petition date and secured by a
purchase money security interest in a motor vehicle acquired for the personal use of the Debtor(s), or (2) incurred within l
year of the petition date and secured by a purchase money security interest in any other thing of value. These claims will
be paid in full under the plan with interest at the rate stated below:

QREDITOR DE§CRIPTION OF COLLATERAL ESTlMATED CLAIM lNTEREST RATE MONTHLY PAYMENT

(f`) Valuation of Secured Claims to Which 11 U.S.C. § 506 is Applicable. The Debtor(s) move(s) to value the claims
partially secured by collateral pursuant to ll U.S.C. § 506 and provide payment in satisfaction of those claims as set forth
below. The unsecured portion of any bifurcated claims set forth below will be paid pursuant to paragraph 4(h) below. The
plan shall be served on all affected creditors in compliance with Fed. R. Bankr. P. 3012(b), and the Debtor(s) shall attach a
certificate of service.

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VALUATlON OF
CREDITOR DESCRlPTlON OF COLLATERAL SECURED CLAlM lNTEREST RATE MONTHLY PAYMENT

(g) Special Treatment of Unsecured Claims. 'I`he following unsecured allowed claims are classified to be paid at 100%
[:l with interest at % per annum or l:]without interest:

 

(h) General Unsecured Claims. Allowed general unsecured claims, including the unsecured portion of any bifurcated claims
provided for in paragraph 4(f) or paragraph 9 of this plan, will be paid a % dividend or a pro rata share of
$ , whichever is greater.

5. Executory Contracts.

(a) Maintenance of Current Installment Payments or R_ejection of Executory Contract(s) and/or Unexpired Lease(s).

DESCRlPTlON OF PROPERTY/SERV]CES ASSUMED/ MONTHLY DISBURSED BV TRUSTEE
CREDl'l`OR AND CONTRACT REJECTED PAYMENT OR DEBTOR(S|

(b) Treatment of Arrearages. Prepetition arrearage claims will be paid in full through disbursements by the Trustee.

CRED|TOR ESTlMATED ARREARAGE

6. Adequate Protection Payments. The Debtor(s) will make pre-confirmation lease and adequate protection payments
pursuant to ll U.S.C. § l326(a)(1) on allowed claims of the following creditors: l`_'i Direct to the Creditor; or l:l To the
Trustee.

CREDITOR ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT

7. Domestic Support Obligations. The Debtor(s) will pay all postpetition domestic support obligations direct to the holder of
such claim identified here. See ll U.S.C. § lOl(l4A). The Trustee will provide the statutory notice of ll U.S.C. § l302(d) to
the following claimant(s):

CLAl MAN'l` ADDRESS

8. Lien Avoidance. Pursuant to ll U.S.C. § 522(f), the Debtor(s) move(s) to avoid the lien(s) or security interest(s) of the
following creditor(s), upon confirmation but subject to ll U.S.C. § 349, with respect to the property described below. The plan
shall be served on all affected creditor(s) in compliance with Fed. R. Bankr. P. 4003(d), and the Debtor(s) shall attach a
certificate of service.

CREDl'l`OR LlEN IDEN'l'lFlCATION 1 if knownl PROPERTY

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9. Surrender of Coilatera|. The following collateral is surrendered to the creditor to satisfy the secured claim to the extent
shown below upon confirmation ofthe plan, The Debtor(s) request(s) that upon confirmation of this plan the stay under 11
U.S.C. § 362(a) be terminated as to the collateral only and that the stay under 1 1 U.S.C. § 1301 be terminated in all respects.
Any allowed deficiency balance resulting from a creditor’s disposition ofthe collateral will be treated as an unsecured claim in
paragraph 4(h) ofthis plan if the creditor amends its previously-filed, timely claim within 180 days from entry ofthe order
confirming this plan or by such additional time as the creditor may be granted upon motion filed within that 180-day period.

CRl-ID]TOR DESCR]P'l`lON Ol" COLl_A’l`l".R/\L AMOUN'I` OF CLAlM SA'l`lSFIED

10. Retention of Liens. Holders ofallowed secured claims shall retain the liens securing said claims to the full extent provided by
i 1 U.s.C§ 1325(3)(5).

ll. Amounts ofClaims and Claim Objeetions. The amount, and secured or unsecured status, of claims disclosed in this plan are
based upon the best estimate and belief of the Debtor(s). An allowed proofofclaim will supersede those estimated claims. ln
accordance with the Bankruptcy Code and Federal Rules of Banl<ruptcy Proeedurc, objections to claims may be filed before or
after confirmation

12. l’ayment lncreases. The Debtor(s) will increase payments in the amount necessary to fund allowed claims as this plan
proposes, after notice from the Trustee and a hearing if necessary, unless a plan modification is approved.

13. Federal Rule of Bankruptcy Procedure 3002.1. The Trustee shall not pay any fees, expenses, or charges disclosed by a
creditor pursuant to Fed. R. Banl<r. P. 3002.l(c) unless the Debtor`s(s’) plan is modified after the filing ofthe notice to provide
for payment of such fees, cxpenses, or charges

14. Serviee of l’lan. Pursuant to Fed. R. Bankr. P. 3015(d) and General Order 2017-3, the Debtor(s) shall serve the Chapter 13
plan on the Trustee and all creditors when the plan is filed with the court, and file a certificate of service accordinglyl lfthe
Debtor(s) seek(s) to limit the amount of a secured claim based on valuation of collateral (paragraph 4(f`) above), seek(s) to
avoid a security interest or lien (paragraph 3 above), or seek(s) to initiate a contested matter, the Debtor(s) must serve the plan
on the affected creditors pursuant to Fed. R. Bankr. P. 7004. See Fed. R. Banl<r. P. 3012(b), 4003(d), and 90|4.

15. Nonstandard l’rovisions. Undcr Fed. R. Bankr. P. 3015(e), nonstandard provisions must be set forth below. A nonstandard
provision is a provision not otherwise in this local plan form or deviating from it. Nonstandard provisions set out elsewhere in

this plan are void.

 

By signing belo\v, l certify the foregoing plan contains no nonstand provisions other than those set out in paragraph 15.

Daced: Q ft f\O_ vva LM,LLLM><J NUULM

Debroi' 1 /

 

Debtoi' 2

 

Attorney_/br the Debtor(s)

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SOUTHERN DISTRICT OF GEORGIA

Division

 

lnre: CaseNo. iiq"iii@,f

Chapter

 

Debtor(s).

CERTIF|CAT|ON OF CRED|TOR lVlAlLlNG NlATRlX

The purpose of the Certification of Creditor l\/lailing l\/iatrix form is to certify that the
creditor information provided on the diskette (or by ECF submission) matches exactly
the creditor information provided on the schedules Accordingly, | hereby certify under
penalty of perjury that the master mailing list of creditors submitted on computer diskette
or electronically via the ClVl/ECF system is a true, correct and complete listing to the
best of my knowledge and that the names and number of creditors provided on the
disi<ette/ECF submission corresponds exactly to the creditor information listed on the
schedules

l further acknowledge that (‘l) the accuracy and completeness in preparing the
creditor listing are the shared responsibility ofthe debtor and the debtor’s attorney;
(2) the court will rely on the creditor listing for all mailings; (3) the various

schedules and statements required by the Bankruptcy Rules are not used for mailing
purposes; and (4) that debtor, attorney and trustee information is not included on the
diskette or electronic submission

The master mailing list of creditors is submitted via:
121 computer disl<ette listing a total of creditors which corresponds exactly
to the schedules; or

|:l electronic means (ECF) listing a total of creditors which corresponds

exactly to the schedules 0
Onrmc 10me
Debtor j

Joint Debtor

 

 

Attorney for Debtor(s)

Date'. 61'520?|®

Re vised: 10/05

